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Counsel for Highland Capital Management, L.P.


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                                                                  §
    In re:
                                                                  §   Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  §   Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.
                                                                  §
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §
                                                                  §   Adversary Proceeding No.
    Plaintiff,
                                                                  §
                                                                  §   21-03000-sgj
    vs.
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT FUND                              §
                                                                  §
    ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,
                                                                  §
    HIGHLAND INCOME FUND, NEXPOINT

1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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 STRATEGIC OPPORTUNITIES FUND,
 NEXPOINT CAPITAL, INC., AND CLO
 HOLDCO, LTD.,

                                Defendants.

                                 NOTICE OF ADJOURNMENT

        PLEASE TAKE NOTICE that the hearing scheduled for Friday, May 7, 2021 at 9:30 a.m.

(Central Time) (the “Hearing”) in the above-captioned adversary proceeding (the “Adversary

Proceeding”) on the following matters has been rescheduled to July 13 and July 14 at 9:30 a.m.

(Central Time) (see AP Docket No. 94):

        1.       Plaintiff’s Emergency Motion for a Temporary Restraining Order and Preliminary
                 Injunction against Certain Entities Owned and/or Controlled by Mr. Dondero
                 [Docket No. 5] (the “PI Motion”); and

        2.       Motion to Dismiss Plaintiff’s Complaint [Docket No. 43] (the “Motion to Dismiss”,
                 and collectively with the PI Motion, the “Motions”).

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 Dated: May 6, 2021.                PACHULSKI STANG ZIEHL & JONES LLP

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